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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                                8:96CR46
                                    )
            v.                      )
                                    )
JEFFREY SEAN MITCHELL,              )                                ORDER
                                    )
                  Defendant.        )
____________________________________)


               On December 23, 2008, defendant appeared with counsel for a final hearing on a

Petition for Offender Under Supervision (Filing No. 544). Defendant was represented by Jessica

Douglas, Assistant Federal Public Defender. Plaintiff was represented by Nancy A. Svoboda,

Assistant United States Attorney. Defendant admits all the allegations with the exception of the

first part of allegation no. 5; defendant says he reported the DUI to his probation officer. The

Court finds defendant in violation of the conditions of his supervised release. The Court revokes

defendant’s supervised release and proceeds to sentencing. Accordingly,

               IT IS ORDERED:

               1. Defendant’s supervised release is hereby revoked. Defendant is sentenced to

the custody of the Bureau of Prisons for a term of seven months.

               2. Upon completion of said term of imprisonment, defendant will be placed on

supervised release for a period of fifty-nine months, under the same terms and conditions of

release previously imposed on December 31, 1997, and as modified on August 28, 2008.
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               3. The Court will approve transfer of supervision to California if and when

appropriate.

               DATED this 24th day of December, 2008.

                                            BY THE COURT:

                                            /s/ Lyle E. Strom

                                            LYLE E. STROM, Senior Judge
                                            United States District Court




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ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this _______ day of __________,
200__.




                                                     Signature of Defendant



                                           RETURN
It is hereby acknowledged that the defendant was delivered on the ______ day of ___________,
200__ to _______________________________________, with a certified copy of this
judgment.




                                                         UNITED STATES WARDEN


                                               By:



NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of receipt, above.


                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ______ day
of __________________, 200___.




                                                         UNITED STATES WARDEN


                                               By:


                                               -3-
